UN|TED STATES DlSTRlCT COURT
M|DDLE DlSTRlCT OF FLOR|DA

JACKSONVILLE DlVlSlON

STEVE MCLELLAN,
P|aintiff,
v.

OFFlCER SHANE BIANCAN|ELLO, individually
and CAPTA|N SWA|N, individually,

Defendants.

Case No. 3:18-cv-254-J-39MCR

CASE MANAGEMENT AND SCHEDUL|NG ORDER
AND REFERRAL TO ME_[_)|AT|ON

Having considered the case management report prepared by the parties, the Court

enters this case management and scheduling order:

 

 

Statement

Mandatory initial Disc|osures (pursuant to May 21, 2018
Fed.R.Civ.P.26(a)(1))
Certit"lcate of lnterested Persons and Corporate Disc|osure COMPLETED

 

Motions to Add Parties or to Amend P|eadings

October 1, 2018

 

 

 

Disc|osure of Expert Reports Plaintiff: November 30, 2018
Defendant: December 17, 2018

Discovery Dead|ine January 31 , 2019
Mediation Dead|ine: March 29, 2019
Mediator: Char|es B. Carter, Esq.

Address: 4719 N. W. 53'°' Ave., Ste. A

Gainesvi||e, FL 32653

Telephone: (352) 381-9991

 

Dispositive and Daubert Motions (Responses due 21 days
after service)

February 28, 2019

 

Motions |_n Limine

June12, 2019

 

Responses to Motions I_n Limine

 

June19, 2019

 

A|| Other Motions

June19, 2019

 

Joint Fina| Pretria| Statement

 

 

June19, 2019

 

 

 

 

 

 

 

 

 

 

Final Pretriai Conference Date: June 26, 2019

Time: 10:00 AM

Judge: Brian J. Davis

Triai Term Begins July 8, 2019

[Tria|s Before Magistrate Judges Begin on Date Certain] 9:00 A.M.

Estimated Length of Tria| 5 days

Jury/Non Jury Jury
1. With respect to discovery matters, the date set forth above is the final date

discovery shall be completed. A|l requests and motions pertaining to discovery shall be
filed promptly so that the discovery desired will be due M to the completion date.
Specitical|y, motions to compel brought pursuant to Rule 37 must be filed no later than
the close of discovery. The parties should be aware that a stipulation to the continuance
of discovery anticipates no discovery disputes. Therefore, this Court will not hear
discovery disputes arising during the stipulated continuance. The parties are further
advised that any extension of discovery will not result in an extension of the dispositive
motion filing deadline or other pretrial or trial dates except upon order of the Court. |f
promptly raised, the deadline for amending pleadings is subject to extension based on
new discovery or other good cause.

2. The parties are reminded of their obligation to comply with the redaction
requirements set forth in Fed.R.Civ.P. 5.2.

3. Pursuant to Local Ru|e 3.01(a), any motion and memorandum in support
must be in a single document not to exceed 25 pages absent leave of Court. Responses
to motions may not exceed 20 pages absent leave of Court. ln summary judgment
practice, the combined motion and memorandum (inc|uding any "Statement of
Undisputed Facts“) must be filed as one document and may not exceed 25 pages without

permission of the Court. P|ease deliver a courtesv copv of all dispositive and Daubert

motions all responses, mclng copies of all relevant exhibits and depositions, to the
chambers of the undersigned

4. Except as otherwise ordered, the parties are directed to meet the pretrial
disclosure requirements in Fed.R.Civ.P. 26(a)(3) and to timely adhere to all requirements
in Local Rule 3.06 concerning Final Pretria| Procedures. While counsel for the P|aintiff
shall be responsible for initiating the pretrial compliance process, all parties are
responsible for assuring its timely completion.

5. A pretrial statement in compliance with Local Rule 3.06 shall be filed with
the Clerk on or before the date noted in this Order with two courtesy copies to be provided
to the Court. The parties are required to identify the depositions to be read at trial in the
pretrial statement but are n_ot required to designate the pages of depositions to be read
at trial until a date to be established by the Court at the final pretrial conference.

6. The final pretrial conference and trial will be held in Courtroom 12C, 12th
F|oor, United States Courthouse, 300 North Hogan Street, Jacksonviile, Fiorida. The
pretrial conference shall be attended by counsel who will act as lead counsel and who
are vested with full authority to make and solicit disclosures and agreements touching on

all matters pertaining to the tria|. Arguments on Motions l_n Limine, if allowed, will be

 

heard at the Final Pretria| Conference.

7. Unless otherwise ordered by the Court, no later than five days before the
trial term set forth above, the parties shall file with the Clerk of Court the following (B,
as to each of the following, provide directly to Chambers, Suite 11-400, by mail or hand

delivery two (2) copies marked “Judge’s Chambers Copy”):

(a) Each side shall file a Trial Brief, with citations of authorities and arguments
specifically addressing all significant disputed issues of law likely to arise at
tria|: agd either (b) or (c) below, as appropriate.

(b) if case is a iu[y trial, the following

(1) A concise (one paragraph preferably) joint or stipulated statement
of the nature of the action to be used solely for purpose of providing
a basic explanation of the case to the jury venire at the
commencement of jury selection process:

(2) Proposed Voir Dire (the Court will conduct the jury voir dire and, in
addition to the usual more general questions, wi||, without initiation
by counse|, ask more particular questions suggested by the nature
of the case; counsel shouid, thereforel be selective in the jury
questions submitted to the Court for consideration); and

(3) A Proposed Verdict Form and complete set of all written Proposed
Jury |nstructions. (The Court will expect counsel to give their best
efforts, cooperatively, in the production of a ioint set of instructions
and verdict form, the format of which the Court will discuss at the
pretrial conference.)

(c) if case is a non-ju§y trial, Proposed Findings of Fact and Conclusions
of Law (each shall be separately stated in numbered paragraphs; Findings
of Fact shall contain a detailed listing of the relevant material facts the party
intends to prove, in a simple, narrative form; Conclusions of Law shall
contain a full exposition of the legal theories relied upon by counse|).

8. The parties are advised (and should advise their witnesses) that photo
identification is required to enter the United States Courthouse. A|though cell phones,
laptop computers, and similar electronic devices generally are not permitted in the
building, attorneys may bring those items with them upon presentation to Court Security

Officers of proof of membership in The F|orida Bar or an Order of special admission pro

hac vice.1

 

1 Ce|l phones must be turned off while in the courtroom.

9. ln the event that the dates set herein for final pretrial conference and/or trial
are continued or othenivise modified, the remaining provisions of this Order shall remain
in full force and effect.

10. THE COURT HAS DONE EVERYTH|NG POSS|BLE TO SET
APPROPR|ATE DEADLlNES FOR TH|S CASE. THE PARTIES SHOULD PROCEED
ACCORD|NGLY. DO NOT ASSUME THAT THE COURT W|LL EXTEND THESE
DEADLlNES.

MED|AT|ON ORDER

This case is referred to the mediator listed above pursuant to Chapter Nine of the
Local Rules. Counsel for Piaintiff is designated as lead counsel to be responsible for
coordinating a mutually agreeable mediation date and for filing a notice advising the Court
of the date selected for mediation. |f Piaintiff is proceeding m Y, counsel for Defendant
shall undertake the responsibility for coordinating a mutually agreeable mediation date
and for filing .the notice. The mediation conference shall be completed by the date set
forth above. Absent agreement otherwise by the parties or order of the Court, the cost of
the mediator’s services shall be borne equally by the parties.

DONE and ORDERED in Jacksonvi|le, Florida this § day of April, 2018.

BRlAN J. DAV|S
United States District Judge

 

Copies to:
Counsel of Record

E_rg § Parties
Mediator with attachments: mediation report form, docket sheet

ap

